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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                       :
                                                       :
    In re                                              :   Chapter 11
                                                       :
    FTX TRADING LTD., et al., 1                        :   Case No. 22-11068 (JTD)
                                                       :   (Jointly Administered)
            Debtors.                                   :
                                                       :
                                                       :   Hearing Date: July 17, 2024 @ 1:00 p.m. (ET)
                                                       :   Obj. Deadline: June 24, 2024 @ 5:00 p.m. (ET)
                                                       :
                                                       :

    MOTION FOR (I) AUTHORITY TO CONDUCT ADDITIONAL INVESTIGATIONS
      AND (II) AN ORDER ESTABLISHING THE SCOPE, COST, DEGREE, AND
    DURATION OF THE SECOND PHASE OF THE EXAMINATION AND GRANTING
                            RELATED RELIEF

             Robert J. Cleary, as the examiner (“Examiner”) appointed in the above-captioned

bankruptcy cases (the “Chapter 11 Cases”) of FTX Trading Ltd. and certain of its affiliates

(collectively, the “Debtors”), files this motion (the “Motion”) pursuant to sections 105 and

1104(c)(2) of title 11 of the United States Code (the “Bankruptcy Code”) and Rule 9018-1(d) of

the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for

the District of Delaware (the “Local Rules”) seeking entry of an order (i) granting the Examiner

authority to conduct additional investigations as outlined in the Report of Robert J. Cleary,

Examiner, ECF No. 15545 (defined below) and (ii) establishing the scope, cost, degree, and


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         The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers
are 3288 and 4063, respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a
complete list of the Debtors and the last four digits of their federal tax identification numbers is not provided
herein. A complete list of such information may be obtained on the website of the Debtors’ claims and
noticing agent at https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent
Fidelity Technologies Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua
and Barbuda.
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duration of these additional investigations and granting related relief, and respectfully states as

follows:

                         JURISDICTION, VENUE, AND STANDING

               1.      This Court has jurisdiction to consider the Motion pursuant to 28 U.S.C.

§§ 157 and 1334 and the amended standing order of reference issued by the United States

District Court for the District of Delaware, dated February 29, 2012. This is a core proceeding

pursuant to 28 U.S.C. §157(b).

               2.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

               3.      The statutory bases and other authority for the relief requested herein are

sections 105 and 1104(c)(2) of the Bankruptcy Code and Local Rule 9018-1(d). In addition,

paragraph 2 of the Examination Scope Order authorizes the Examiner to seek authorization to

conduct additional investigations.

               4.      Pursuant to Local Rule 9013-1(f), the Examiner consents to this Court’s

entry of a final order in connection with this Motion to the extent it is later determined the Court,

absent consent of the parties, cannot enter final orders or judgments in connection herewith

consistent with Article III of the United States Constitution.

                                         BACKGROUND

               5.      On November 11 and 14, 2022, the Debtors filed voluntary chapter 11

petitions in the United States Bankruptcy Court for the District of Delaware (the “Court”). On

December 15, 2022, the United States Trustee for Region 3 (the “U.S. Trustee”) appointed an

official committee of unsecured creditors in the Debtors’ cases (the “Committee”). See ECF No.

231.



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               6.     On December 1, 2022, the U.S. Trustee filed the Motion of the United

States Trustee for Entry of an Order Directing the Appointment of an Examiner, ECF No. 176

(the “Examiner Motion”).

               7.     On February 21, 2023, the Court entered the Order Denying Motion for

the Appointment of an Examiner, ECF No. 746 (the “Examiner Order”). On March 6, 2023, the

U.S. Trustee filed a notice of appeal of the Examiner Order, ECF No. 805, and on January 19,

2024, the United States Court of Appeals for the Third Circuit (the “Third Circuit”) issued an

opinion reversing the Examiner Order.

               8.     On February 23, 2024, the Court entered an order directing the U.S.

Trustee to appoint an examiner in the Debtors’ cases, ECF No. 7909.

               9.     On February 27, 2024, the U.S. Trustee filed the Notice of Appointment of

Examiner, ECF No. 8047, and the (I) Application of the United States Trustee for Order

Approving the Appointment of Robert J. Cleary, Esq. as Examiner; (II) Motion for Entry of an

Order (A) Establishing the Scope, Cost, Degree, and Duration of the Initial Phase of the

Examination and (B) Granting Relief; and (III) Motion to File Certain Information Regarding

Potential Parties in Interest Under Seal, ECF No. 8048.

               10.    The Court held a hearing on March 20, 2024. On March 20, 2024, the

Court entered the Order Approving the Appointment of Examiner, ECF No. 9882 (the

“Appointment Order”), which approved Mr. Cleary’s appointment as Examiner in these Chapter

11 Cases. On the Appointment Date, the Court also entered the Examination Scope Order which

sets out the scope, cost, degree, and duration of the Examiner’s initial investigation, ECF No.

9883.



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                11.     Paragraph 2 of the Examination Scope Order required the Examiner to

complete his Examination and file his report within 60 days (the “Report Deadline”). 2 On May

20, 2024, the Examiner filed the Report of Robert J. Cleary, Examiner, ECF No. 15545 (the

“Examiner Report”) under seal pursuant to paragraph 8 of the Examination Scope Order and the

Examiner’s Motion to Amend Order, ECF No. 13627. On May 23, 2024, following entry of an

Order Amending the Cost of the Examination and Permitting the Filing of Certain Information

Regarding Potential Parties In Interest Under Seal (ECF No. 15538), the Examiner filed a fully

unreacted version of the Examiner Report, ECF No. 15545.

                                       RELIEF REQUESTED

                12.     Through this Motion, the Examiner seeks entry of an order substantially in

the form attached hereto as Exhibit A (i) granting the Examiner authority to conduct additional

investigations as outlined in the Examiner Report; (ii) establishing the scope, cost, degree and

duration of these additional investigations, and (iii) granting such other and further relief as

deemed just and proper, including with respect to the initial filing under seal of a Phase II Report

(as defined below).

                13.     Bankruptcy Code section 1104(c) authorizes the Court to order the

Examiner to conduct an investigation of the Debtors “as is appropriate.” The Third Circuit has

made clear that this Court has broad discretion to determine the scope, duration, degree, and cost

of this examination. See In re FTX Trading Ltd., 91 F.4th 148, 156 (3d Cir. 2024).

                14.     Paragraph 2 of the Examination Scope Order states, “[i]n the event the

Examiner recommends that additional investigations would be necessary or helpful to the Court or



2
 The Examination Scope Order was entered on March 20, 2024, and 60 days from March 20, 2024, was Sunday,
May 19, 2024. As such, the Report Deadline was May 20, 2024. See Fed. R. Bankr. P. 9006(a)(1).
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the Debtors’ estates or that additional investigations would be in the public interest, the Examiner

may seek authorization through the Examiner’s report or by filing an application for authority to

conduct such investigations (in either case on notice to parties in interest with an opportunity for

parties in interest to be heard) setting out the proposed scope, duration, degree, and cost of, and

rationale for, such additional investigations.”

                15.     In the Examiner Report, the Examiner recommended that he be authorized

to undertake additional investigations into three issues. (See Examiner Report, ECF No. 15545

at 41-45, 45-49, 176-183, 209).

                16.     The first recommendation concerns S&C’s representation of Sam

Bankman-Fried (“Bankman-Fried”) in connection with his purchase of the Robinhood

Shares. (See Examiner Report at pages 41 to 45). This inquiry would focus on (1) the scope and

contours of that representation, and (2) based on that representation, what, if anything, S&C

knew or should have known about the FTX Group’s misconduct and/or fraud. Further

investigation into this transaction would be important to help determine whether there was a

potentially disqualifying conflict the Court should have been aware of when ruling on S&C’s

retention application. In addition, the investigation would discern more generally if, in

connection with or as a consequence of this representation, S&C advised on, possessed or gained

knowledge of, or had been made aware of critical facts relating to the FTX Group’s misconduct.

                17.     The second recommendation concerns potential claims against the former

shareholders of Ledger Holdings, Inc. (“LHI”) that sold their interests prepetition to West Realm

Shires Inc. (“WRS”), to the extent any claims were not released in the Debtors’ Bankruptcy

Court-approved postpetition sale of LHI to M 7 Holdings. (See Examiner Report at pages 45 to

49). This inquiry would (1) seek to determine whether an avoidance action(s) is warranted with

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respect to unreleased shareholders, and (2) enable the Examiner to report on the underlying

details of the prepetition sale of LHI to WRS, which report and findings would be in the public

interest.

                  18.      The third recommendation concerns the “holes” or balance sheet shortfalls

at FTX.US. (See Examiner Report at pages 176 to 183). This inquiry would center on (1) the

existence of and the reasons these holes arose at FTX.US, (2) whether the balance sheet holes

were the result of commingling of customer or corporate assets, (3) the frequency and magnitude

of the holes, and (4) how they were resolved and by whom. Further investigation of the

existence, cause, and resolution of “holes,” or balance sheet shortfalls, at FTX.US may identify

additional misconduct or misuse of customer assets. Additionally, further investigation and

reporting on FTX.US’s insolvency could promote public confidence in the bankruptcy process

by refuting Bankman-Fried’s false claims that FTX.US was solvent as of the Petition Date.

Given the significant public interest in issues related to FTX.US it is the Examiner’s view that

further inquiry by him into these issues is warranted.

                  19.      The Examiner estimates the additional investigative work related to these

issues would take approximately 10 weeks.

                  20.      The Examiner estimates the cost of this proposed work, along with a

Report to the Court summarizing the same (the “Phase II Report”), would not exceed

$ 3,000,000. 3

                  21.      The Examiner proposes to file a Phase II Report initially under seal. The

process for parties to file a sealing motion would align with that of the initial investigation.


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         In the Examiner’s Report, we initially estimated that these investigations would be completed at a cost not
to exceed $2,400,000. However, upon further assessment of the steps necessary to conduct and complete these
investigations thoroughly and accurately, we have adjusted this estimate.
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Parties will be provided seven days to file a sealing motion, which the Court is authorized to

approve pursuant to Local Rule 9018-1(d)(i).

               22.     Pursuant to the proposed process, the Examiner shall initially file the

Phase II Report under seal on the deadline set by the Court (“Phase II Report Deadline”). At that

time, unredacted copies will be provided or otherwise made available to the Debtors, the

Committee, and the U.S. Trustee (the “Parties”) and the Court. The Parties and the Examiner

will then have seven days to discuss and finalize proposed redactions to the Phase II Report that

are necessary to protect privileged information.

               23.     To the extent the Parties do not seek to redact any portion of the

Examiner’s Phase II Report, then the Examiner shall file a fully unredacted version of the Phase

II Report so that it is publicly available on the docket on or before seven days from the Phase II

Report Deadline. If the Parties do seek to redact portions of the Phase II Report, and no Party

objects to the proposed privilege redactions, then on or before seven days from the Phase II

Report Deadline, (i) the Examiner shall file the Phase II Report so that it is publicly available on

the docket reflecting the agreed-upon redactions and (ii) the Parties shall file a sealing motion

seeking approval of such redactions. If the Parties are unable to reach agreement on any

proposed redactions by seven days from the Phase II Report Deadline, then seven days from the

Phase II Report Deadline, (i) the Examiner shall file the Phase II Report so that it is publicly

available on the docket reflecting agreed-upon redactions in addition to all disputed redactions

and (ii) the Parties shall file a sealing motion or motions seeking Court approval of the agreed-

upon redactions and Court resolution on the disputed redactions. The redactions shall remain

under seal until the application is resolved. For the avoidance of doubt, the disclosure of the

unredacted version of the Phase II Report to the Parties for purposes of identifying potential
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privilege redactions shall neither constitute nor be deemed a waiver by any Party of, as

applicable, work-product protection, attorney-client privilege, or any other applicable privilege

or protection.

                 24.   The proposed redactions shall be approved upon (i) the agreement of the

Parties approved by Court order or (ii) a Court ruling, memorialized by a Court order as to what

privileged material (if any) should be redacted from the Phase II Report. If the Court’s order

does not approve all of the redactions reflected in the Phase II Report filed seven days from the

Phase II Report Deadline, then within three business days of entry of the Court’s order, the

Examiner shall file on the public docket a copy of the Phase II Report reflecting only the Court-

approved redactions. The Examiner, the Debtors, and the Committee shall thereafter maintain

the confidentiality of the unredacted version of the Phase II Report. The U.S. Trustee shall not

disclose the redacted parts of the Phase II Report (if any) consistent with 11 U.S.C. §107(c).

                                             NOTICE

                 25.   Notice of this Motion will be given to (a) the U.S. Trustee; (b) the

Debtors; (c) the Committee; (d) the ad hoc committee of non-U.S. customers of FTX.com; (e)

the joint provisional liquidators of FTX Digital Markets Ltd.; and (f) all parties that have filed

requests for notices in these Chapter 11 Cases. In light of the nature of the relief requested, the

Examiner submits that no other or further notice need be provided.

                                        PRIOR REQUEST

                 26.   This Motion seeks to grant the Examiner authority to conduct additional

investigations. Other than as set forth in the Examiner Report, no request for the relief sought

herein has been made by the Examiner to this or any other court.


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               WHEREFORE the Examiner respectfully requests entry of the proposed order

attached hereto as Exhibit A (i) granting the Examiner authority to conduct additional

investigations as outlined in the Examiner Report; (ii) establishing the scope, cost, degree and

duration of these additional investigations, and (iii) granting such other and further relief as

deemed just and proper.

 Dated: June 10, 2024                                 Respectfully submitted,

                                                      ASHBY & GEDDES, P.A.

                                                      By:     /s/ Michael D. DeBaecke

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                                                      Counsel to Robert J. Cleary in his capacity
                                                      as Examiner appointed in the Chapter 11
                                                      Cases




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